Case 1:18-cv-01262-LMB-TCB Document 144-5 Filed 05/08/20 Page 1 of 2 PageID# 2014

                                                                                      EXHIBIT 5




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                              )
  SECURITIES AND EXCHANGE                     )
  COMMISSION,                                 )
                                              )
                        Plaintiff,            )
                                              )
  v.                                          )       Civil No. 1:18-cv-01262
                                              )
  TODD ELLIOTT HITT, KIDDAR                   )
  CAPITAL LLC, and KIDDAR GROUP               )
  HOLDINGS, INC.,                             )
                                              )
                        Defendants,           )
                                              )
  and                                         )
                                              )
  KIDDAR HERNDON STATION LLC,                 )
  KIDDAR HOMEBUILDING FUND I,                 )
  LLC, MELBOURNE RETREAT LLC,                 )
  KIDDAR MASS AVE LLC, KIDDAR                 )
  RIDGEVIEW LLC, ESA EMERSON                  )
  LLC, ESA HIGHWOOD LLC, and                  )
  KIDDAR AQ LLC a/k/a KIDDAR                  )
  AQUICORE LLC,                               )
                                              )
                        Relief Defendants.    )
                                              )

               ORDER APPROVING FIFTH INTERIMAPPLICATION OF
               PROTIVITI FOR ALLOWANCE OF COMPENSATION AND
        EXPENSE REIMBURSEMENT AS FINANCIAL ADVISOR TO THE RECEIVER

          This matter came before the Court upon the Fifth Interim Application of Protiviti for

  Allowance of Compensation and Expense Reimbursement Incurred as Financial Advisor to the

  Receiver (the “Application”) filed by Protiviti (“Protiviti”), counsel for Christopher L. Perkins

  (the “Receiver”) of the estates of Kiddar Capital LLC, Kiddar Group Holdings, Inc., Kiddar
Case 1:18-cv-01262-LMB-TCB Document 144-5 Filed 05/08/20 Page 2 of 2 PageID# 2015




  Homebuilding Fund I LLC, Melbourne Retreat LLC, Kiddar Mass Ave LLC, Kiddar Ridgeview

  LLC, ESA Emerson LLC, ESA Highwood LLC, and Kiddar AQ LLC also known as Kiddar

  Aquicore LLC (the “Receivership Defendants”). The Court, having reviewed the Application

  and having heard the statements of counsel in support of the relief requested therein at a hearing

  on the Application (the “Hearing”) and the Court finding that: (i) jurisdiction is proper pursuant

  to 28 U.S.C. § 959, (ii) notice of the Application and Hearing was proper and sufficient; (iii) there

  are no objections to the Application; and (iv) payment of the requested compensation and

  reimbursement of expenses as allowed herein is reasonable; it is hereby

         ORDERED as follows:

         1.      The Application is approved.

         2.      Capitalized terms not otherwise defined herein shall have the meanings given to

  them in the Application.

         3.      Compensation in the amount of $22,470.00 for professional services rendered to

  the Receiver and reimbursement of $645.00 for out-of-pocket expenses incurred for the Receiver’s

  benefit from and including January 1, 2020, through and including March 31, 2020, is hereby

  allowed.

         4.      The Receiver is authorized and directed to pay eighty percent (80%) of professional

  fees ($17,976.00) and expenses ($516.00) awarded herein.



  IT IS SO ORDERED, this ___ day of ___________, 2020.




                                                UNITED STATES DISTRICT JUDGE


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